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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF INDIANA
                           SOUTH BEND DIVISION


 UNITED STATES OF AMERICA                 )
                                          )
             v.                           )       CAUSE NO. 3:09-CR-11 RM
                                          )
 ROSENDO DELREAL (01)                     )


                                      ORDER

       No objections have been filed to the magistrate judge’s findings and

 recommendations upon a plea of guilty issued on June 30, 2009. Accordingly, the

 court ADOPTS those findings and recommendations [docket # 72], ACCEPTS

 defendant Rosendo Delreal’s plea of guilty, and FINDS the defendant guilty of

 Count 2 of the Indictment, in violation of 21 U.S.C. § 841(a)(1) and 18 U.S.C. § 2.

       SO ORDERED.

       ENTERED:       July 22, 2009



                                 /s/ Robert L. Miller, Jr.
                                Chief Judge
                                United States District Court
